       Case 1:23-cr-00278-JKB        Document 205        Filed 02/10/25     Page 1 of 1




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                                            February 10, 2025

The Honorable James K. Bredar
United States Senior District Court Judge
District of Maryland
101 West Lombard Street
Baltimore, MD 21201

Re:           United States v. Christopher Bendann
              Criminal Case No. JKB-23-0278

Dear Judge Bredar:

        With regards to the Court’s order, ECF 204, we have no objection to an unredacted
transcript being provided to third parties.




                                            Sincerely,


                                            ______/s/________________
                                            Christopher C. Nieto, Esq.
                                            Gary E. Proctor, Esq.




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